Case 2:15-cv-08162-GW-FFM Document 247 Filed 08/09/18 Page 1 of 2 Page ID #:9740



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  14    MANAGEMENT, LLC
  15                       UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
  16                            WESTERN DIVISION
  17
                                                )
  18    THOMAS J. KENNIS,                           Case No. 2:15-cv-08162-GW-FFM
                                                )
  19                                            )   [PROPOSED]
                                                     ///////////////////////// ORDER ON JOINT
                    Plaintiff,
  20                                            )   STIPULATION TO:
              v.                                )   (1) EXTEND MEDIATION
  21                                            )   DEADLINE, AND (2) CONTINUE
  22    METROPOLITAN WEST ASSET                 )   POST-MEDIATION STATUS
        MANAGEMENT, LLC,                        )   CONFERENCE [246]
  23
                                                )
  24                Defendant.                  )   Discovery Cut-off: August 11, 2018
  25
                                                )   Pretrial Conference: November 15,
                                                )   2018 at 8:30 a.m.
  26                                            )   Trial Date: November 27, 2018 at 9:00
                                                    a.m.
  27                                            )
                                                )   Courtroom: 9D
  28                                                Judge: Hon. George H. Wu
                                                )

                                      [PROPOSED] ORDER ON JOINT STIPULATION TO (1) EXTEND MEDIATION
                                      ///////////////
                                       DEADLINE, AND (2) CONTINUE POST-MEDIATION STATUS CONFERENCE
                                                                        CASE NO. 2:15-CV-08162-GW-FFM
Case 2:15-cv-08162-GW-FFM Document 247 Filed 08/09/18 Page 2 of 2 Page ID #:9741




   1          The Court, having considered the joint stipulation of the parties, and for
   2    good cause shown, orders as follows:
   3          1.    The mediation cut-off is extended until November 2, 2018;
   4          2.    The post-mediation status conference is continued to November 5,
   5
                    2018., at 8:30 a.m.
   6
   7
              IT IS SO ORDERED.
   8
   9    DATED: __________
                Aug. 9, 2018              By: ___________________________
  10                                      Hon. George H. Wu
                                          United States District Judge
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                                          [PROPOSED] ORDER ON JOINT STIPULATION TO (1) EXTEND MEDIATION
                                          //////////////
                                          DEADLINE, AND (2) CONTINUE POST-MEDIATION STATUS CONFERENCE
                                                                            CASE NO. 2:15-CV-08162-GW-FFM
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